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                     Exhibit 3
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         Infringement Claim Chart for U.S. Pat. No. US7256899B1 v. SCANTECH (“Defendant”)
                           (See Accused Product List at end of chart for models)

      Claim16                                                  Evidence

16. A system for      The SCANTECH iReal 2E Color 3D Scanner is a system for acquiring an approximation
acquiring an          of a surface geometry of a 3-dimensional object.
approximation of a
surface geometry of   For example, the iReal 2E Color 3D Scanner is a 3D scanning device for measuring
a 3-dimensional       the three-dimensional shape of an object using projected light patterns and a camera
object comprising:    system. The iReal 2E Color 3D Scanner includes a scanner head that projects a series
                      of light patterns (e.g. parallel stripes) onto the scan target. When light projects onto
                      the object's surface, the patterns become distorted. The camera system captures
                      these images and sends them for processing to a computer executing 3D scanning
                      software.




                      Source: https://www.ireal3dscan.com/main/1start/about.html




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        Source: https://www.ireal3dscan.com/main/1start/about.html




        Source: https://www.ireal3dscan.com/main/1start/about.html


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                       Source: https://www.ireal3dscan.com/main/1start/about.html

means for              The SCANTECH iReal 2E Color 3D Scanner includes means for establishing an object
establishing an        coordinate system in known relationship to the object.
object coordinate
system in known        For example, the iReal 2E Color 3D Scanner includes a computer to establish an
relationship to the    object coordinate system using an image of the target object, having reference
object;                features thereon, and the position of the scanner head when the image was

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        captured.




        Source: https://www.ireal3dscan.com/main/1start/about.html




        Source: https://www.ireal3dscan.com/main/1start/about.html

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means for projecting   The SCANTECH iReal 2E Color 3D scanner includes means for projecting a pattern of
a pattern of           structured light of known geometry onto the object.
structured light of
known geometry         For example, the iReal 2E Color 3D scanner includes a light source (e.g. a blue light
onto the object;       LED) that projects a series of light patterns (e.g. parallel stripes) onto the scan target.




                       Source: https://www.ireal3dscan.com/main/1start/about.html




                       Source: https://www.ireal3dscan.com/main/2user/calibration.html


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means for forming an     The SCANTECH iReal 2E Color 3D scanner includes means for forming an image of an
image of an              intersection of the pattern of structured light with the object.
intersection of the
pattern of structured    For example, the iReal 2E Color 3D scanner includes a camera system. The camera
light with the object;   system includes an electro-optical image sensor (e.g. CMOS or CCD image sensor
                         depending on the model) that captures the patterns of the light projected onto the
                         target object.




                         Source: https://www.ireal3dscan.com/main/1start/about.html

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processing means for     The SCANTECH iReal 2E Color 3D scanner includes processing means for generating a
generating a set of      set of data characterizing the intersection relative to a position of the pattern of light.
data characterizing
the intersection         For example, the non-contact scanner includes an image processor for processing the
relative to a position   images of light patterns captured by the camera system.
of the pattern of
light;




                         Source: https://www.ireal3dscan.com/products/ireal-2e-3d-scanner/


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                        Source: https://it3d.com/en/3d-scanners/color/scantech-ireal-2e/

transmitting means      The SCANTECH iReal 2E Color 3D scanner includes transmitting means for
for transmitting some   transmitting some portion of the image or intersection data to a receiver.
portion of the image
or intersection data    For example, the iReal 2E Color 3D scanner includes a transmitter (e.g. wireless
to a receiver;          Bluetooth transmitter or wired USB transmitter, depending on the model) for
                        transmitting data associated with the captured images to a processor system.




                        Source: https://www.ireal3dscan.com/faqs-category/ireal-2e/


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                      Source:    https://www.3d-scantech.com/wp-content/uploads/2022/07/iReal-2E-2022-
                      Color-3D-Scanner-Brochure.pdf

receiving means for   The SCANTECH iReal 2E Color 3D scanner includes receiving means for receiving the
receiving the         transmitted processed intersection data.
transmitted
processed             For example, the iReal 2E Color 3D scanner includes a receiver (e.g. wireless
intersection data;    Bluetooth transmitter or wired USB transmitter) is used for receiving data associated
                      with the captured images to provide the data to a computer for further processing.




                      Source: https://www.ireal3dscan.com/faqs-category/ireal-2e/


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                        Source:    https://www.3d-scantech.com/wp-content/uploads/2022/07/iReal-2E-2022-
                        Color-3D-Scanner-Brochure.pdf

tracking means for      The SCANTECH iReal 2E Color 3D scanner includes tracking means for tracking the
tracking the position   position of the projected pattern of structured light.
of the projected
pattern of structured   For example, the non-contact scanner includes a position indicator for indicating the
light;                  position at which a light pattern image was captured in relation to the target object.




                        Source: https://www.ireal3dscan.com/main/1start/about.html


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means for               The SCANTECH iReal 2E Color 3D scanner includes means for associating each
associating each        intersection datum with the position of the projected pattern of light at the time the
intersection datum      image corresponding to the datum was formed.
with the position of
the projected pattern   For example, a scanner tracking subsystem is used to track the position of the non-
of light at the time    contact scanner as it is moved from an initial position to other positions to capture
the image               light pattern images from different locations around the target object.
corresponding to the
datum was formed;




                        Source:    https://www.3d-scantech.com/wp-content/uploads/2022/07/iReal-2E-2022-
                        Color-3D-Scanner-Brochure.pdf

transforming means      The SCANTECH iReal 2E Color 3D scanner includes transforming means for

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for transforming      transforming each intersection datum into coordinates of the object coordinate
each intersection     system.
datum into
coordinates of the    For example, the computer calculates the X-Y-Z coordinate points of the entire
object coordinate     surface geometry of the target object from the light pattern images as the light
system; and           pattern shifts from the initial position.




                      Source: https://www.ireal3dscan.com/main/1start/about.html




                      Source: https://it3d.com/en/3d-scanners/color/scantech-ireal-2e/


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accumulating means      The SCANTECH iReal 2E Color 3D scanner includes accumulating means for
for accumulating the    accumulating the transformed coordinates to form a model approximating the
transformed             surface geometry of the object.
coordinates to form a
model approximating     For example, the computer that executes algorithms to align every scan image
the surface geometry    automatically to create a highly accurate, complete 3D digital model of the object.
of the object.




                        Source: https://www.ireal3dscan.com/main/1start/about.html




                        Source: https://www.ireal3dscan.com/products/ireal-2e-3d-scanner/


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                        Source: https://www.ireal3dscan.com/products/ireal-2e-3d-scanner/



Accused Product List

iReal M3
iReal 2E




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